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          EXHIBIT B
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Type of Work:         Sound Recording

Registration Number / Date:
                   SRu001301922 / 2017-05-24

Application Title: Eleven: The Junior Senior Year.

Title:                Eleven: The Junior Senior Year.

Description:          Electronic file (eService)

Copyright Claimant:
                      Emelike Wesley Nwosuocha, 1987-    .

Date of Creation:     2017

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